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      Exhibit A
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                                                 EXHIBIT A
                          PRELIMINARY INVALIDITY CONTENTIONS – CHART OF PRIOR ART

Pursuant to the Court’s scheduling order (Dkt. 25), Defendant Nine Energy Service, Inc. (“Nine”) hereby provides the below chart
setting forth where in each of the identified prior art references that each element of claims asserted by Plaintiff NCS Multistage, Inc.
(“NCS”), are found. The chart below addresses asserted claims 14-15, 22-25, 27, 28-31, 36, 37-43, 46, 50-53, and 55-57 of U.S. Patent
10,465,445, including any independent claims from which the asserted claims depend.

In compiling these contentions, Nine has relied in part on NCS’s Infringement Contentions dated July 10, 2020. In those contentions,
NCS appears to assign overly broad claim constructions in an effort to assert infringement where none exists, and to accuse a product
that does not infringe the asserted claims. Nine’s Preliminary Invalidity Contentions take into account NCS’s apparent constructions
and may reflect aspects of the prior art that satisfy those constructions. Nine’s assertion that a particular limitation is disclosed by a
prior art reference, however, is not an admission that NCS’s apparent claim interpretations are supportable or proper or that the claim
limitations in question are definite or otherwise amenable to construction. Nine will argue for appropriate constructions of any term or
claim of any patent at issue in this action on the schedule set by the Court. Moreover, Nine may seek to amend these invalidity
contentions to account for any new interpretation or applications of the asserted claim, for example, if NCS changes its infringement
theories or the Court issues a claim construction order.

Nine respectfully submits that each and every one of the asserted claims is invalid as anticipated or obvious in view of one or more of
the following prior art references.

 #        Claim Language                                    Citations to Prior Art
 1.0      A float tool configured for use in a casing       U.S. Patent 7,661,480 to Al-Anazi (“Al Anazi”), at Abstract, Figs. 1-4,
          string for a wellbore containing a well fluid,    1:6-8, 1:12-19; 1:42-53; 2:3-8; 2:28-36; 2:46-63.
          the casing string having an internal diameter     Frank Allen, et al., Extended-Reach Drilling: Breaking the 10-km Barrier
          that defines a fluid passageway between an        (BP Exploration Operation Co. Ltd. 1997) (“Allen 1997”), at 46-47.
          upper portion of the casing string and a lower    Int. Pub. No. WO2009116871A1 to Brandsdal et al. (“Brandsdal 2009”),
          portion of the casing string, the float tool      at 5:23-6:10; Figs. 1, 2.
          comprising:                                       U.S. Pat. No. 6,634,430 to Dawson et al. (“Dawson 2003”), at 4:10-41;
                                                            Fig. 1.
                                                            U.S. Pat. No. 4,512,491 to DeGood et al. (“DeGood 1985”), at 4:53-6:38.
                                                            WO1991012451A1 to Degraaf et al. (“Degraaf 1991”), at 3:9-31.
                                                            U.S. Pat. No. 2,756,828 to Deily et al. (“Deily 1956”), at 2:63-3-3; Fig. 1.
                                                            U.S. Pat. No. 5,188,182 to Echolas et al. (“Echolas 1993”), at 2:65-3:41.

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#   Claim Language                       Citations to Prior Art
                                         U.S. Pat. No. 3,831,680 to Edwards et al. (“Edwards 1974”), at 3:27-4:21.
                                         U.S. Pat. 9,624,750 to Entchev, et al. (“Entchev 2017”), at 5:61-6:8,
                                         12:38-13:3, 23:19-25, Fig.1, Fig. 3A, Fig. 3B, Fig. 10, Fig. 11.
                                         U.S. Pat. 8,820,437 to Ervin, et al. (“Ervin 2014”), at Abstract, 2:38-52,
                                         3:11-30, 8:46-9:13, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 9.
                                         U.S. Pat. 244,042 to Farrar (“Farrar 1881”), at 2:30, 2:48-52, Fig. 1, Fig.
                                         2.
                                         U.S. 5,050,630 to Farwell & Mundt (“Farwell 1991”), at Abstract, 2:10-
                                         22, 3:48-58, 6:42-56, 7:50-8:12, Fig. 1.
                                         U.S. Pat. 5,924,696 to Frazier (“Frazier 1999”), at Abstract, 1:23-42,
                                         2:11-24, 3:65-4:15, 4:30-5:17, Fig. 1, Fig. 6, Fig. 7.
                                         U.S. Pat. 7,287,596 to Frazier & Chapman (“Frazier 2007”), at 3:38-52,
                                         4:62-5:5, 8:19-50, Fig. 1, Fig. 2.
                                         U.S. Pat. 7,708,066 to Frazier (“Frazier 2010”), at 3:53-4:3, 11:30-46,
                                         Fig. 1, Fig. 2, Fig. 6, Fig. 9.
                                         U.S. Pat. 8,813,848 to Frazier (“Frazier 2014”), at Abstract, 3:22-34,
                                         4:22-49, Fig. 1, Fig. 3, Fig. 4, Fig. 7, Fig. 8, Fig. 9, Fig. 11, Fig. 12, Fig.
                                         13.
                                         U.S. Pat. 9,194,209 to Frazier (“Frazier 2015”), at Abstract, 2:25-41,
                                         10:11-23, 11:46-53, 12:57-64, Fig. 6, Fig. 7.
                                         U.S. Pat. 6,334,488 to Freiheit (“Freiheit 2002”), at Abstract, 3:31-44,
                                         6:56-7:10, 7:45-8:6, Fig. 1B, Fig. 4, Fig. 5, Fig. 6.
                                         WO 2003/052239 to Friend, et al. (“Friend 2003”), at Abstract, 1:9-17,
                                         1:28-32, 2:13-18, 4:31-34, 9:4-6, 14, 16-17, Fig. 1, Fig. 3.
                                         U.S. Pat. 5,479,986 to Gano, et al. (“Gano 1996), at Abstract, 2:15-40,
                                         3:4-9, 3:43-52, 6:46-57, 7:36-56, 8:27-55, 10:38-46, 11:5-15, 12:28-32,
                                         12:40-64, Fig. 2A, Fig. 3.
                                         U.S. Pat. 5,685,372 to Gano (“Gano 1997”), at 2:33-36, Figs. 1-4.
                                         U.S. Pat. 7,963,342 to George (“George 2011”), at 4:63-65, 6:65-7:57,
                                         7:64-12:11, 7:42-48, 7:60-8:45, 9:8-67, Fig. 1, Fig. 2, Fig. 3.
                                         U.S. Pat. 6,472,068 to Glass, et al. (“Glass 2002”), at Abstract, 1:9-2:57,
                                         4:16-34, 6:14-18, 6:48-52, Fig. 3.


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#   Claim Language                       Citations to Prior Art
                                         U.S. Pat. 6,561,275 to Glass, et al. (“Glass 2003”), at Abstract, 6:23-57.
                                         U.S. Pat. 7,513,311 to Gramstad, et al. (“Gramstad 2009”), at Abstract,
                                         1:5-9, 1:13-2:4, 2:8-14, 3:19-22, 3:30-34, 6:48-57, 8:41-53, Fig. 1A, Fig.
                                         1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                         U.S. Pat. 7,963,340 to Gramstad, et al. (“Gramstad 2011”), at 7:59-62,
                                         8:25-27, 9:1-16, 9:33-10:10.
                                         U.S. Pat. 4,664,184 to Grigar (“Grigar 1987”), at 1:58-66, 2:27-3:45,
                                         4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                         U.S. Pat. 7,624,796 to Hassel-Sorensen (“Hassel 2009), at Abstract, 2:60-
                                         61, 4:15-19, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                         U.S. Pat. 7,117,946 to Herr (“Herr 2006”), at 12:12-22, 23:33-24:15,
                                         25:52-56, Fig. 3, Fig. 4.
                                         U.S. Pat. 6,672,389 to Hinrichs (“Hinrichs 2004”), at Abstract, 1:11-15,
                                         2:1-19, 3:15-24, 3:57-4:5, 6:35-46, 7:60-8:45, 9:8-55, Fig. 1, Fig. 2, Fig.
                                         3, Fig. 4.
                                         U.S. Pat. 7,673,689 to Jackson, et al. (“Jackson 2010”), at Abstract, 1:60-
                                         65.
                                         U.S. Pat. 5,996,696 to Jeffree, et al. (“Jeffree 1999”), at Abstract, 1:26-32,
                                         2:27-34, 3:15-30, 4:6-33, 4:39-45, 4:62-5:48, 6:20-51, Fig. 1, Fig. 2.
                                         U.S. Pat. 3,599,713 to Jenkins (“Jenkins 1971”), at 1:38-53, 2:63-3:30,
                                         3:42-4:4, 4:11-31, Fig. 1.
                                         U.S. Pat. 7,789,162 to Keller, et al. (“Keller 2010”), at Abstract, 4:7-31,
                                         6:3-20, 7:31-58, Fig. 1, Fig. 2A, Fig. 2B, Fig. 3.
                                         U.S. Pat. 7,455,116 to Lembcke, et al. (“Lembcke 2006”), at 3:62-65, Fig.
                                         1, Fig. 2.
                                         U.S. Pat. 4,691,775 to Lustig & Ellis (“Lustig 1987”), at Abstract, 2:65-
                                         3:5.
                                         U.S. Pat. 2,565,731 to Luther (“Luther 1951”), at 1:50-2:5, Fig. 1, Fig. 2,
                                         Fig. 3.
                                         Oil and Gas Online, Single MagnumDisk™ (June 21, 2011) (“Magnum
                                         Oil Tools 2011”).



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#   Claim Language                       Citations to Prior Art
                                         Owen Oil Tools, Magnum Ported Underbalance Sub (Core Lab
                                         September 2012) (“Magnum Oil Tools 2012”), at 1-2.
                                         U.S. Pat. 5,117,915 to Muller, et al. (“Muller 1992”), at Abstract, 3:18-
                                         4:29, 5:59-6:4, 8:34-49, Figs. 3A-F, Fig. 7.
                                         U.S. Pat. 1,884,165 to Otis (“Otis 1932”), at 1:33-44, 2:65-77, Fig. 1, Fig.
                                         2.
                                         Owen Oil Tools, Surge Tool, Underbalance Sub (Core Lab June 2002)
                                         (“Owen Oil Tools 2004”), at 1-3.
                                         Rogers et al., Buoyancy Technology Used Effectively in Casing Running
                                         Operations to Extend Lateral Stepout, SPE/IADC 148541 (Oct. 24, 2011)
                                         (“Rogers 2011”), at 2-3, 11; Fig. 13.
                                         U.S. No. 5,829,526 to Rogers, et al. (“Rogers 1998”), at 4:18-64; Figs. 2,
                                         6-12;
                                         U.S. Pub. No. 2009/0020290 to Ross, et al. (“Ross 2009”), at ¶¶ [0002],
                                         [0010]; Figs. 1-3.
                                         Shaker et al., Implementation of New Technologies for Oil and Gas
                                         Industry, SPE 88738 (Oct. 2004) (“Shaker 2004”), at 1, 3, 5-6.
                                         Can. Pub. No. CA2670218 to Sherman, et al. (“Sherman 2010”), at ¶¶
                                         [0001], [0033].
                                         U.S. Pub. No. 4,553,559 to Short (“Short 1985”), at 2:13-40, 5:45-47.
                                         U.S. Pub. No. 2009/0056955 to Slack (“Slack 2009”), at ¶¶ [0002],
                                         [0004].
                                         **U.S. Pub. No. to Snider et al. (“Snider 1996”), at 2:41-65, 6:21-63; Fig.
                                         3.
                                         U.S. Pub. No. 2003/0168214 to Sollesnes (“Sollesnes 2003”), at ¶¶
                                         [0001]- [0002].
                                         U.S. Pat. No. 4,813,481 to Sproul et al. (“Sproul 1989”), at 1: 5-45, 2:50-
                                         55.
                                         U.S. Pat. No. 7,950,409 to Stokes et al. (“Stokes 2011”), at 1:8-31.
                                         U.S. Pat. No. 6,397,950 to Streich et al. (“Streich 2002”), at 5:20-43; Figs.
                                         5-6.
                                         Can. Pat. No. 2469251 to Sundholm et al. (“Sundholm 2010”), at 1:3-25.


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#     Claim Language                               Citations to Prior Art
                                                   TCO TDP-PO 500 x 300 Drawing, TCO AS (July 30, 2012) (Provided in
                                                   PGR2020-00078) (“500x300 TDP-PO Plug”), at 1, 6.
                                                   TCO TDP PoP 572 x 375 Drawing, TCO AS (Drawing No. 1018-12-001)
                                                   (provided in PGR2020-00078) (“572x375 TDP-PO Plug”), at 1, 11.
                                                   TCO AS v. NCS Multistage Inc., PGR2020-00078, Paper 3 (Aug. 5, 2020)
                                                   (“TCO PGR2020-00078”), at 49-51.
                                                   U.S. Pat. No. 4658902 to Wesson et al. (“Wesson 1987”), at 1:6-33; 2:56-
                                                   31.
1.1   a rupture disc assembly comprising (i) a     Al-Anazi, at Abstract, Figs. 1-4, 1:6-8; 1:12-19; 1:36-54; 1:58-64; 2:3-22;
      tubular member having an upper end and a     2:28-34; 2:46-63; 3:3-9.
      lower end, the upper and lower ends          Allen 1997, at 46-47.
      configured for connection in-line with the   Brandsdal 2009, at 5:23-6:10; Figs. 1, 2.
      casing string and                            DeGood 1985, at 4:53-6:38.
                                                   Degraaf 1991, at 3:9-31.
                                                   Deily 1956, at 2:63-3-3; Fig. 1.
                                                   Echolas 1993, at 2:65-3:41.
                                                   Edwards 1974, at 3:27-4:21.
                                                   Entchev 2017, at 12:18-21, 12:38-13:3, 23:19-25, Fig.1, Fig. 3A, Fig. 3B,
                                                   Fig. 10, Fig. 11.
                                                   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 8:66-9:13, 9:33-43, Fig.
                                                   1, Fig. 2.
                                                   Farrar 1881, at 2:16-40, Fig. 1, Fig. 2, Fig. 3.
                                                   Farwell 1991, at Abstract, 2:10-22, 3:16-19, 3:48-58, 6:42-56, 7:50-8:12,
                                                   Fig. 1, Fig. 2.
                                                   Frazier 1999, at Abstract, 1:23-42, 2:11-37, 3:65-4:15, 4:30-5:17, Fig. 1,
                                                   Fig. 6, Fig. 7.
                                                   Frazier 2007, at 3:34-52, 6:16-23, 6:33-42, 8:19-50, Fig. 1, Fig. 2, Fig. 3,
                                                   Fig. 4.
                                                   Frazier 2010, at 3:53-4:3, Fig. 1, Fig. 2, Fig. 5, Fig. 6, Fig. 9.
                                                   Frazier 2014, at 3:27-34, 5:44-61, 6:66-7:11, 8:34-43, Fig. 1, Fig. 3, Fig.
                                                   4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig 10, Fig. 11, Fig. 12, Fig. 13.



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#   Claim Language                       Citations to Prior Art
                                         Frazier 2015, at Abstract, 2:25-41, 10:11-23, 11:46-53, 12:57-64, Fig. 6,
                                         Fig. 7.
                                         Freiheit 2002, at Abstract, 3:31-44, 7:45-8:6, Fig. 1B, Fig. 4, Fig. 6.
                                         Friend 2003, at Abstract, 2:13-18, 4:31-34, 9:4-17, 14, 16-17, Fig. 1, Fig.
                                         3, Fig. 4.
                                         Gano 1996, at Abstract, 1:5-8, 2:15-31; 3:4-9, 3:43-52, 6, 6:46-57, 8:27-
                                         31, 10:40-41, 11:10-11, 12:28-32, 12:40-64, Fig. 2A, Fig. 3.
                                         Gano 1997, at 2:47-55, 2:64-66, Figs. 1-4.
                                         George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                         Fig. 2, Fig. 3.
                                         Glass 2002, at Abstract, 1:9-12, 1:40-2:57, 2:59-3:14, 4:16-63, 6:14-18,
                                         6:48-52, Fig. 3.
                                         Glass 2003, at Abstract, 6:23-57.
                                         Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                         8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                         Gramstad 2011, at 7:59-67, 8:25-40, 9:1-16, 9:33-10:10.
                                         Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                         Hassel 2009, at Abstract, 1:13-30, 2:60-3:6, 6:19-37, Fig. 1, Fig. 2, Fig. 3,
                                         Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                         Herr 2006, at 12:12-22, 12:35-43, 23:33-24:15, 25:52-56, Fig. 3, Fig. 4.
                                         Hinrichs 2004, at Abstract, 1:41-54, 2:5-19, 3:15-30, 3:46-48, 4:6-31,
                                         6:35-46, 7:60-8:45, 9:8-55, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 8.
                                         Jackson 2010, at Abstract, 1:65-2:34, 2:63-3:2, Fig. 1, Fig. 2, Fig. 3, Fig.
                                         4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                         Jeffree 1999, at Abstract, 1:47-49, 2:35-38, 2:57-3:30, 4:6-33, 4:39-45,
                                         4:63-5:33, 6:20-51, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                         Jenkins 1971, at 1:44-53, 1:63-70, 2:63-66, 3:42-4:4, 4:11-31, 4:38-43,
                                         Fig. 1.
                                         Keller 2011, at 7:40-42, 8:23-43, Fig. 1, Fig. 2A, Fig. 2B, Fig. 3.
                                         Lembcke 2008, at 3:65-4:4, Fig. 1, Fig. 2, Fig. 3, Fig. 5.
                                         Lustig 1987, at Abstract, 2:5-26, 3:49, 4:8-67, Fig. 1, Fig. 2.
                                         Luther 1951, at 1:50-2:5, Fig. 1, Fig. 2, Fig. 3.


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#     Claim Language                                Citations to Prior Art
                                                    Magnum Oil Tools 2011.
                                                    Magnum Oil Tools 2012, at 1-2.
                                                    Mueller 1992, at 5:6-15, 8:34-49, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 7.
                                                    Otis 1932, at 1:38-44, 2:65-77, Fig. 1, Fig. 2, Fig. 6.
                                                    Owen Oil Tools 2004, at 1-3.
                                                    Petrowsky 2013, at ¶ [0010]; Fig. 1.
                                                    Phi 2008, at ¶¶ [0017], [0036], [0047]-[0050]; Figs. 2, 6-7.
                                                    Rogers 2011, at 3-4, 11; Fig. 13.
                                                    Ross 2009, at ¶ [0002].
                                                    Shaker 2004, at 1, 3, 5-6.
                                                    Sherman 2010, at ¶ [0033].
                                                    Short 1985, at 5:47-56, 65-68.
                                                    Slack 2009, at [0005].
                                                    Snider 1996, at 6:21-63; Fig. 3.
                                                    Sollesnes 2003, at ¶ [0011].
                                                    Sproul 1989, at 2:50-55.
                                                    Sundholm 2010, at 1:3-25.
                                                    500x300 TDO-PO Plug, at 1, 6.
                                                    572x375 TDO-PO Plug, at 1, 11.
                                                    TCO PGR2020-00078, at 51-52.
                                                    Wesson 1987, at 1:6-33; 2:56-31.
1.2   (ii) a rupture disc having a rupture burst    Al-Anazi, at Abstract, Figs. 1-4, 1:6-8; 1:12-19; 1:36-54; 1:58-64; 2:3-22;
      pressure and in sealing engagement with a     2:28-34; 2:46-63; 3:3-9.
      region of the tubular member within the upper Allen 1997, at 46-47.
      and lower ends, expedited                     Brandsdal 2009, at 7:7-31; Figs. 3, 4.
                                                    DeGood 1985, at 4:53-6:38.
                                                    Degraaf 1991, at 3:9-31.
                                                    Deily 1956, at 2:63-3-3; Fig. 1.
                                                    Edwards 1974, at 3:27-4:21.
                                                    Entchev 2017, at 6:18-35, 13:10-26, 13:36-50, 13:57-14:2, 14:3-12,
                                                    16:54-17:18, 18:6-36, 19:15-19, 24:1-17, Fig. 3B.



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#   Claim Language                       Citations to Prior Art
                                         Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
                                         Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                         Farrar 1881, at 2:16-34, 2:37-57, 2:53-73, Fig. 1, Fig. 2, Fig. 3.
                                         Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                         7:50-8:12, Fig. 1, Fig. 2.
                                         Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                         4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                         Frazier 2007, at 4:44-50, 6:5-15, 7:12-21, 7:32-42, 8:19-56, Fig. 1, Fig. 2,
                                         Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                         Frazier 2010, at 3:53-4:3, 5:51-63, 12:31-40, Fig. 1, Fig. 2, Fig. 3B, Fig.
                                         4E, Fig. 5, Fig. 6, Fig. 9.
                                         Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                         8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                         Fig. 11, Fig. 12, Fig. 13.
                                         Frazier 2015, at Abstract, 2:25-41, 4:28-34, 8:60-67, 11:46-12:28, 12:57-
                                         13:14, 13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                         Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                         7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                         Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:7-17, 14-19, Fig.
                                         3, Fig. 4, Fig. 6, Fig. 7, Fig. 8.
                                         Gano 1996, at 2:32-50, 3:10-16, 3:43-52, 4:6-35, 5:32-35, 5:38-42, 7:3-
                                         14, 7:47-8:14, 8:18-26, 8:31-41, 8:62-9:19, 10:42-43, 11:12-15, 12:28-32,
                                         12:36-37, 12:40-64, 8:4-6, 8:16-19, Fig. 2A, Fig. 2B, Fig. 3.
                                         Gano 1997, at 1:37-42, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                         George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:42-7:57, 7:64-12:11, Fig. 1,
                                         Fig. 2, Fig. 3.
                                         Glass 2002, at Abstract, 1:9-12, 2:9-57, 2:59-4:2, 4:11-63, 6:4-6, 6:14-18,
                                         6:33-40, 6:45-65, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5.
                                         Glass 2003, at Abstract, 6:23-57, 23:33-24:15, 24:23-27, 24:47-49.
                                         Gramstad 2009, at Abstract, 1:13-2:4, 2:15-24, 3:11-34, 3:54-4:3, 4:21-
                                         32, 5:6-6:30, 6:58-7:10, 7:27-32, 7:49-52, 8:24-53, Fig. 1A, Fig. 1B, Fig.
                                         2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.


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#   Claim Language                        Citations to Prior Art
                                          Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
                                          10:34-37.
                                          Grigar 1987, at 1:61-66, 3:36-45, 4:11-25, 6:5-7, 6:30-37, Fig. 2.
                                          Hassel 2009, at Abstract, 1:21-2:19, 2:64-3:6, 3:58-67, 4:21-67, 5:12-6:3,
                                          6:19-40, 6:66-7:3, 7:16-8:3, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A,
                                          Fig. 6B, Fig. 6C.
                                          Herr 2006, at 12:12-22, 12:35-42, 12:59-66, 25:52-56, Fig. 3, Fig. 4.
                                          Hinrichs 2004, at Abstract, 1:11-22, 1:55-67, 2:36-3:12, 3:15-30, 3:46-48,
                                          4:25-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
                                          4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                          Jackson 2010, at Abstract, 1:65-2:34, 3:5-4:6, Fig. 1, Fig. 2, Fig. 3, Fig. 4,
                                          Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                          Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:31-56, 4:6-33, 4:39-
                                          45, 4:63-5:48, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                          Jenkins 1971, at 1:71-2:1, 2:55-69, 3:10-27, 4:5-10, 4:32-37, Fig. 1.
                                          Keller 2011, at 7:40-42, 8:23-43, Fig. 1, Fig. 2A, Fig. 2B, Fig. 3.
                                          Lustig 1987, at Abstract, 1:52-59, 2:47-64, 3:25-41, 3:53-55, 3:61-68,
                                          4:48-67, Fig. 1, Fig. 2.
                                          Luther 1951, at 2:6-25, 2:55-3:10, Fig. 1, Fig. 2, Fig. 3.
                                          Magnum Oil Tools 2011.
                                          Magnum Oil Tools 2012, at 1-2.
                                          Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                          Owen Oil Tools 2004, at 1-3.
                                          Petrowsky 2013, at ¶ [0011].
                                          Phi 2008, at ¶¶ [0017], [0036], [0047-50]; Figs. 2, 6-7.
                                          Rogers 1998, at 8:52-9:16.
                                          Rogers 2011, at 3-4, 11; Fig. 13.
                                          Ross 2009, at ¶¶ [0002], [0011], [0019].
                                          Shaker 2004, at 1, 3, 5-6.
                                          Sherman 2010, at ¶ [0033].
                                          Slack 2009, at [0005].
                                          Snider 1996, at 6:21-63; Fig. 3.


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#     Claim Language                                Citations to Prior Art
                                                    Sollesnes 2003, at ¶ [0011].
                                                    Sundholm 2010, at 3:16-4-2.
                                                    500x300 TDO-PO Plug, at 1, 3, 5, 6, 9.
                                                    572x375 TDO-PO Plug, at 1, 3, 6, 10, 11.
                                                    TCO PGR2020-00078, at 52-55.
                                                    Wesson 1987, at 1:6-33; 2:56-31.
1.3   wherein the rupture disc is configured to     Al-Anazi, at Abstract, Figs. 1-4, 1:6-8; 1:12-19; 1:36-54; 1:58-64; 2:3-22;
      rupture when exposed to a rupturing force     2:28-34; 2:46-63; 3:3-9; 3:17-4:63; 5:3-7:40.
      greater than the rupture burst pressure and   Allen 1997, at 46-47.
                                                    Brandsdal 2009, at 7:7-31; Figs. 3, 4.
                                                    DeGood 1985, at 4:53-6:38.
                                                    Degraaf 1991, at 3:9-31.
                                                    Deily 1956, at 2:63-3-3; Fig. 1.
                                                    Edwards 1974, at 3:27-4:21.
                                                    Entchev 2017, at 4:56-5:3, 6:18-35, 10:25-27, 18:6-36, 21:47-57, Fig. 10,
                                                    Fig. 11.
                                                    Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:44-50, 9:59-67, Fig.
                                                    1, Fig. 2.
                                                    Farrar 1881, at 2:16-34, 2:37-57, 2:53-73, Fig. 1, Fig. 2, Fig. 3.
                                                    Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                    7:50-8:12, Fig. 1, Fig. 2.
                                                    Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                                    4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                    Frazier 2007, at 4:44-50, 6:5-15.
                                                    Frazier 2010, at 12:31-40.
                                                    Frazier 2014, at 3:47-4:8, 5:6-31, 7:24-55, 8:54-10:5, Fig. 1, Fig. 4, Fig. 6,
                                                    Fig. 7, Fig. 8, Fig. 9, Fig. 10, Fig. 11, Fig. 12, Fig. 13.
                                                    Frazier 2015, at Abstract, 2:25-41, 4:28-34, 8:60-67, 11:46-12:28, 12:57-
                                                    13:14, 13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                    Freiheit 2002, at 5:21-6:55, 8:3-6, Fig. 2, Fig. 3, Fig. 4, Fig. 5.
                                                    Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:15-17, 14-19, Fig.
                                                    2, Fig. 3, Fig. 4, Fig. 15. Fig. 16.


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#   Claim Language                        Citations to Prior Art
                                          Gano 1996, at 2:32-50, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                          42, 5:44-50, 7:57-8:14, 8:62-9:19, 10:44-46, 11:29-31, 12:40-64, Fig. 2C,
                                          Fig. 3.
                                          Gano 1997, at 1:37-42, 4:32-5:7.
                                          George 2011, at 6:42-64, 7:48-57, 8:40-45, 9:16-21, 10:4-10:10.
                                          Glass 2002, at Abstract, 1:9-12, 2:9-57, 2:59-4:2, 4:44-51, 6:4-6, 6:14-18,
                                          6:33-40, 6:45-65, Fig. 1, Fig. 2, Fig. 4, Fig. 5.
                                          Glass 2003, at Abstract, 6:23-57.
                                          Gramstad 2009, at Abstract, 1:13-2:4, 2:15-50, 4:21-32, 5:6-6:30, 6:58-
                                          7:10, 7:27-32, 8:4-6, 8:24-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3,
                                          Fig. 4A, Fig. 4B.
                                          Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-44, 9:10-17, 10:1-14.
                                          Grigar 1987, at 1:61-66, 3:36-45, 4:11-25, 6:5-7, 6:30-37, Fig. 2.
                                          Hassel 2009, at Abstract, 1:46-60, 4:21-67, 6:1-3, 6:66-7:3, Fig. 7.
                                          Herr 2006, at 12:12-22, 12:35-42, 12:59-66, 13:20-43, 25:52-56, Fig. 3,
                                          Fig. 4.
                                          Hinrichs 2004, at Abstract, 1:41-54, 2:36-48, 3:19-24, 3:19-30, 6:16-7:25,
                                          7:60-8:45, 9:8-55, 10:42-53, Fig. 2, Fig. 3, Fig. 4.
                                          Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:42-49, 3:46-50, 4:6-33, 5:30-
                                          33, 6:15-19, 6:44-51.
                                          Jenkins 1971, at 2:55-62, 3:10-27, 4:5-10, 4:32-37.
                                          Lustig 1987, at Abstract, 1:52-59, 3:25-41, 3:53-55, 3:61-68.
                                          Luther 1951, 2:55-3:10.
                                          Magnum Oil Tools 2011.
                                          Magnum Oil Tools 2012, at 1-2.
                                          Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                          Owen Oil Tools 2004, at 1-3.
                                          Petrowsky 2013, at ¶ [0011].
                                          Phi 2008, at ¶¶ [0017], [0036], [0047]-[0050]; Figs. 2, 6-7.
                                          Rogers 2011, at 3-4, 11; Fig. 13.
                                          Ross 2009, at ¶ [0013].
                                          Shaker 2004, at 1, 3, 5-6.


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#     Claim Language                                   Citations to Prior Art
                                                       Sherman 2010, at ¶ [0033].
                                                       Slack 2009, at [0005].
                                                       Snider 1996, at 6:21-63; Fig. 3.
                                                       Sollesnes 2003, at ¶¶ [0011], [0026]-[0030]; Fig. 3.
                                                       Sproul 1989, at 2:50-55.
                                                       Stokes 2011, at 2:3-54; Figs. 7-8.
                                                       Streich 2002, at 5:20-43; Figs. 5-6.
                                                       Sundholm 2010, at 3:16-4-2.
                                                       500x300 TDO-PO Plug, at 5, 9, 10.
                                                       572x375 TDO-PO Plug, at 3, 10, 12.
                                                       TCO PGR2020-00078, at 55-58.
                                                       Wesson 1987, at 1:6-33; 2:56-31.
1.4   the region of the tubular member where the       Al-Anazi, at Figs. 1-2; 2:31-32; 2:50-3:26.
      rupture disc is attached has a larger internal   Brandsdal 2009, at 7:7-31; Figs. 3, 4.
      diameter than the internal diameter of the       Degraaf 1991, at 3:9-31.
      casing string and is parallel to the internal    Entchev 2017, at 6:18-35, 10:25-27, 13:10-26, 14:3-12, 15:32-44, 16:54-
      diameter of the casing string.                   17:18, 18:6-36, 22:3-11, Fig. 3B, Fig. 5A.
                                                       Ervin 2014, at 9:33-50, Fig. 2, Fig. 9.
                                                       Farrar 1881, at 2:37-40, Fig. 1.
                                                       Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                       7:50-8:12, Fig. 1, Fig. 2.
                                                       Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                                       4:30-5:17, Fig. 1, Fig. 6, Fig. 7.
                                                       Frazier 2007, at 7:50-61, 8:19-50, Fig. 3, Fig. 4.
                                                       Frazier 2014, at Fig. 1, Fig. 4, Fig. 8, Fig. 9, Fig. 10, Fig. 11, Fig. 12, Fig.
                                                       13.
                                                       Frazier 2015, at 8:26-29, 11:46-64, Fig. 6, Fig. 7.
                                                       Freiheit 2002, at Fig. 1B.
                                                       Friend 2003, at 5:10-24; 17, Fig. 2, Fig. 3, Fig. 4, Fig. 15. Fig. 16.
                                                       Gano 1996, at 2:32-50, 8:30-32, Fig. 2A-2C, Fig. 3.
                                                       Gano 1997, at Figs. 1-4.
                                                       Glass 2002, at 4:11-27, 4:40-44, Fig. 3.


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#    Claim Language                                  Citations to Prior Art
                                                     Gramstad 2009, at 1:33-36, Fig. 4A, Fig. 4B.
                                                     Grigar 1987, at Fig. 2.
                                                     Hassel 2009, at 3:61-64, 3:58-67, 6:41-47, Fig. 1, Fig. 2, Fig. 3, Fig. 4,
                                                     Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                                     Hinrichs 2004, at 4:25-31, Fig. 2, Fig. 3, Fig. 4.
                                                     Jackson 2010, at Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                                     Jeffree 1999, at Fig. 4.
                                                     Jenkins 1971, at 2:25-26, Fig. 1.
                                                     Luther 1951, at 2:6-3, Fig. 1, Fig. 2, Fig. 3.
                                                     Magnum Oil Tools 2011.
                                                     Magnum Oil Tools 2012, at 1-2.
                                                     Otis 1932, at 1:45-62, 2:65-77, Fig. 1, Fig. 2, Fig. 6.
                                                     Owen Oil Tools 2004, at 1-3.
                                                     Petrowsky 2013, at ¶ [0016].
                                                     Phi 2008, at ¶¶ [0047-50]; Figs. 4, 6.
                                                     Ross 2009, at Figs. 1-2.
                                                     Sherman 2010, at ¶ [0033].
                                                     Slack 2009, at [0005].
                                                     Snider 1996, at 6:21-63; Fig. 3.
                                                     Sollesnes 2003, at [0026]; Fig. 3.
                                                     Sproul 1989, at 2:50-55; 6:16-33; Figs. 1-3.
                                                     500x300 TDO-PO Plug, at 1, 5.
                                                     572x375 TDO-PO Plug, at 1, 3.
                                                     TCO PGR2020-00078, at 58-60.
8.   The float tool recited in claim 1 wherein the   Al-Anazi, at Fig. 2; 3:17-4:64.
     rupture disc forms an upper seal of a sealed    Allen 1997, at 46-47.
     chamber.                                        Brandsdal 2009, at 7:7-31; Figs. 3, 4.
                                                     DeGood 1985, at 4:53-6:38.
                                                     Echolas 1993, at 2:65-3:41.
                                                     Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
                                                     Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                     Farrar 1881, at 2:16-34, 2:37-57, 2:53-73, Fig. 1, Fig. 2, Fig. 3.


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#   Claim Language                        Citations to Prior Art
                                          Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                          7:50-8:12, Fig. 1, Fig. 2.
                                          Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                          4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                          Frazier 2007, at 4:44-50, 6:5-15, 7:12-21, 7:32-42, Fig. 1, Fig. 2, Fig. 3,
                                          Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                          Frazier 2010, at 9:27-34, 11:20-25, 12:8-11, Fig. 1, Fig. 2, Fig. 5, Fig. 6.
                                          Frazier 2015, at 11:56-60, 11:65-12:5, 12:19-28, 13:23-26, Fig. 6, Fig. 7.
                                          Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                          7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                          Friend 2003, at 1:30-2:2, 2:15-25, 6:29-7:4, 9:7-17, 14, 17, Fig. 3, Fig. 4.
                                          Gano 1996, at 2:32-50, 5:44-50, 7:48-56, 8:31-41, 10:42-43, 11:12-15,
                                          Fig. 2B, Fig. 3.
                                          Gano 1997, at 1:37-42, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                          George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                          Fig. 2, Fig. 3.
                                          Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                          Glass 2003, at Abstract, 6:23-57.
                                          Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                          8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                          Grigar 1987, at 1:61-66, 3:36-45, 4:11-58, 6:5-7, 6:30-37, Fig. 1, Fig. 2.
                                          Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
                                          2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                          Herr 2006, at 12:12-22, 12:35-42, 12:59-66, 25:52-56, Fig. 3, Fig. 4.
                                          Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                          Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:31-56, 4:39-45, Fig.
                                          4, 4:63-5:48, 6:11-51, Fig. 5, Fig. 6.
                                          Keller 2011, at 7:40-42, 8:23-43, 10:24-25, Fig. 1, Fig. 2A, Fig. 2B, Fig.
                                          3.
                                          Lustig 1987, at Abstract, 1:52-59, 2:47-64, 3:25-41, 3:53-55, 3:61-68,
                                          4:48-67, Fig. 1, Fig. 2.
                                          Luther 1951, at 1:1-9, Fig. 1, Fig. 2, Fig. 3.


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#     Claim Language                              Citations to Prior Art
                                                  Magnum Oil Tools 2011.
                                                  Magnum Oil Tools 2012, at 1-2.
                                                  Mueller 1992, at 3:36-51, 4:56-5:15, 8:34-49, Figs. 3A-F.
                                                  Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                  Owen Oil Tools 2004, at 1-3.
                                                  Rogers 1998, at 8:52-9:16.
                                                  Ross 2009, at ¶¶ [0013], [0018-19].
                                                  Slack 2009, at [0005], [0015].
                                                  Snider 1996, at 6:21-63; Fig. 3.
                                                  Sollesnes 2003, at ¶¶ [0011], [0026]-[0030]; Fig. 3.
                                                  Sproul 1989, at 2:50-55; 6:16-33; Figs. 1-3.
                                                  Sundholm 2010, at 3:16-4-2.
                                                  500x300 TDO-PO Plug, at 3, 5.
                                                  572x375 TDO-PO Plug, at 3, 6.
14.   The float tool recited in claim 8 further   Al-Anazi, at Fig. 2; 3:17-4:64.
      comprising a lower seal on the sealed       Allen 1997, at 46-47.
      chamber                                     DeGood 1985, at 4:53-6:38.
                                                  Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
                                                  Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                  Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                                  4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                  Frazier 2007, at 4:44-50, 6:5-15, 7:12-21, 7:32-42, Fig. 1, Fig. 2, Fig. 3,
                                                  Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                  Frazier 2015, at 11:11:60-64, 12:6-18, 12:19-28, 13:23-26, Fig. 6, Fig. 7.
                                                  Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                                  7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                                  Friend 2003, at 1:30-2:2, 2:15-25, 6:29-7:4, 9:7-17, 14, 17, Fig. 3, Fig. 4.
                                                  Gano 1996, at 2:32-50, 5:44-50, 8:31-41, 10:42-43, 11:12-15, Fig. 2B,
                                                  Fig. 3.
                                                  Gano 1997, at 1:37-42, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                  George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                                  Fig. 2, Fig. 3.


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#     Claim Language                                   Citations to Prior Art
                                                       Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                                       Glass 2003, at Abstract, 6:23-57.
                                                       Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                       8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                       Grigar 1987, at 1:61-66, 3:36-45, 4:11-58, 6:5-7, 6:30-37, Fig. 1, Fig. 2.
                                                       Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
                                                       2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                                       Herr 2006, at 12:12-22, 12:35-42, 12:59-66, 25:52-56, Fig. 3, Fig. 4.
                                                       Hinrichs 2004, at Abstract, 1:41-54, 2:5-19, 3:15-30, 3:46-48, 4:6-31,
                                                       6:35-46, 7:60-8:45, 9:8-55, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 8.
                                                       Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                                       Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:31-56, 4:39-45, 4:63-
                                                       5:48, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                                       Keller 2011, at 7:40-42, 8:23-43, 10:24-25, Fig. 1, Fig. 2A, Fig. 2B, Fig.
                                                       3.
                                                       Lustig 1987, at Abstract, 1:52-59, 2:47-64, 3:25-41, 3:53-55, 3:61-68,
                                                       4:48-67, Fig. 1, Fig. 2.
                                                       Luther 1951, at 1:1-9, Fig. 1, Fig. 2, Fig. 3.
                                                       Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                       Mueller 1992, at 3:36-51, 4:56-5:15, 8:34-49, Figs. 3A-F.
                                                       Rogers 1998, at 4:42-5:25; 8:52-9:16.
                                                       Ross 2009, at ¶¶ [0013], [0018]-[0019].
                                                       Snider 1996, at 6:21-63; Fig. 3.
                                                       Sollesnes 2003, at ¶¶ [0011], [0026]-[0030]; Fig. 3.
                                                       Sproul 1989, at 2:50-55; 6:16-33; Figs. 1-3.
                                                       500x300 TDO-PO Plug, at 5, 13.
                                                       572x375 TDO-PO Plug, at 6, 7.
15.   The float tool recited in claim 14 wherein the   Allen 1997, at 46-47.
      lower seal is within a float shoe.               Ervin 2014, at 10:1-17, Fig. 1, Fig. 2, Fig. 3.
                                                       Keller 2011, at 7:40-42, 8:23-43, 10:24-25, Fig. 1, Fig. 2, Fig. 3.
                                                       Mueller 1992, at 3:36-51, 4:56-5:15, 8:34-49, Fig. 1, Fig. 2, Figs. 3A-F.
                                                       Petrowsky 2013, at ¶ [0013].


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#      Claim Language                                  Citations to Prior Art
                                                       Rogers 1998, at 4:42-64.
                                                       Ross 2009, at ¶¶ [0034], [0037].
22.0   A method for installing casing in a wellbore    Al-Anazi, at Abstract, Fig. 1; 1:6-8, 1:12-19; 1:42-53; 1:58-2:23; 2:28-30;
       containing a well fluid and having an upper     2:46-64.
       vertical portion, a lower horizontal portion,   Allen 1997, at 46-47.
       and a bend portion connecting the upper and     Dawson 2003, at 4:10-41; Fig. 1.
       lower portions, the method comprising:          Farwell 1991, at Abstract, 2:10-22, 3:48-58, 6:42-56, 7:50-8:12, Fig. 1.
                                                       Frazier 1999, at Abstract, 1:23-42, 2:11-24, 3:65-4:15, 4:30-5:17, Fig. 1,
                                                       Fig. 6, Fig. 7.
                                                       Frazier 2007, at 3:38-52, 4:62-5:5, Fig. 1, Fig. 2.
                                                       Frazier 2010, at 3:53-4:3, 4:37-43, 11:30-46, Fig. 1, Fig. 2, Fig. 6, Fig. 9.
                                                       Frazier 2014, at Abstract, 3:22-34, 4:22-49, Fig. 1, Fig. 3, Fig. 4, Fig. 7,
                                                       Fig. 8, Fig. 9, Fig. 11, Fig. 12, Fig. 13.
                                                       Frazier 2015, at Abstract, 2:25-41, 10:11-23, 11:46-53, 12:57-64, Fig. 6,
                                                       Fig. 7.
                                                       Freiheit 2002, at Abstract, 3:31-44, 6:56-7:10, 7:45-8:6, Fig. 1B, Fig. 4,
                                                       Fig. 5, Fig. 6.
                                                       Friend 2003, at Fig. 1, 3:5-3, 4:27-30.
                                                       Gano 1996, at 7:36-46, 8:56-51, 11:35-44, 12:40-64, Fig. 2A, Fig. 3.
                                                       Gano 1997, at 1:37-42, 2:41-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                       George 2011, at 4:63-65, 7:64-12:11, Fig. 1, Fig. 2, Fig. 3.
                                                       Glass 2002, at Abstract, 1:9-2:57, 4:16-34, 6:14-18, 6:48-52, Fig. 3.
                                                       Gramstad 2009, at Abstract, 1:5-9, 1:13-2:4, 2:8-14, 3:19-22, 3:30-34,
                                                       6:48-57, 8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig.
                                                       4B.
                                                       Gramstad 2011, at 7:59-62, 8:25-27, 9:1-16, 9:33-10:10.
                                                       Grigar 1987, at 1:58-66, 2:27-3:45, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                                       Hinrichs 2004, at Abstract, Abstract, 1:11-15, 1:30-33, 2:1-19, 3:15-24,
                                                       3:57-4:5, 6:35-46, 7:60-8:45, 9:8-55, Fig. 1, Fig. 2, Fig. 3, Fig. 4.
                                                       Jackson 2010, at Abstract, 1:65-2:34, 2:63-3:2, Fig. 1, Fig. 2, Fig. 3, Fig.
                                                       4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.



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#        Claim Language                                   Citations to Prior Art
                                                          Jeffree 1999, at Abstract, 1:26-32, 2:27-34, 3:15-30, 4:6-33, 4:39-45,
                                                          4:62-5:48, 6:20-51, Fig. 1, Fig. 2.
                                                          Keller 2011, at Abstract, 4:7-31, 6:3-20, 7:31-58, 9:25-43, Fig. 1, Fig. 2A,
                                                          Fig. 2B, Fig. 3.
                                                          Luther 1951, at 1:1-9, 1:50-2:5, Fig. 1, Fig. 2, Fig. 3.
                                                          Otis 1932, at 1:33-44, Fig. 1, Fig. 2.
                                                          Mueller 1992, at 3:18-4:29, 4:56-5:15, 5:59-6:4, 8:34-49, Fig. 1, Fig. 2,
                                                          Figs. 3A-F, Fig. 4.
                                                          Petrowsky 2013, at ¶¶ [0013], [0018].
                                                          Phi 2008, at ¶¶ [0013]-[0015]; Figs. 2, 6-7.
                                                          Rogers 1998, at 4:18-38.
                                                          Rogers 2011, at 3-4, 11; Fig. 13.
                                                          Sherman 2010, at ¶¶ [0018], [0033].
22.1.a   running a casing string into the wellbore, the   Al-Anazi, at Abstract, Fig. 1; 1:6-8, 1:12-19; 1:42-53; 1:58-2:23; 2:28-30;
         casing string having an internal diameter that   2:46-64.
         defines a fluid passageway between an upper      Allen 1997, at 46-47.
         portion of the casing string and a lower         Brandsdal 2009, at 7:7-31; Figs. 3, 4.
         portion of the casing string,                    Ervin 2014, at Abstract, 2:38-52, 3:11-30, 8:46-9:13, Fig. 1, Fig. 2, Fig. 3,
                                                          Fig. 4, Fig. 5, Fig. 9.
                                                          Farrar 1881, at 2:16-40, Fig. 1, Fig. 2, Fig. 3.
                                                          Farwell 1991, at Abstract, 2:10-22, 3:16-19, 3:48-58, 6:42-56, 7:50-8:12,
                                                          Fig. 1, Fig. 2.
                                                          Frazier 1999, at Abstract, 1:23-42, 2:11-37, 3:65-4:15, 4:30-5:17, Fig. 1,
                                                          Fig. 6, Fig. 7.
                                                          Frazier 2007, at 3:38-52, 4:62-5:5, Fig. 1, Fig. 2.
                                                          Frazier 2010, at 3:53-4:3, 4:37-43, 11:30-46, Fig. 1, Fig. 2, Fig. 6, Fig. 9.
                                                          Frazier 2014, at Abstract, 3:22-34, 4:22-49, Fig. 1, Fig. 3, Fig. 4, Fig. 7,
                                                          Fig. 8, Fig. 9, Fig. 11, Fig. 12, Fig. 13.
                                                          Frazier 2015, at Abstract, 2:25-41, 10:11-23, 11:46-53, 12:57-64, Fig. 6,
                                                          Fig. 7.
                                                          Freiheit 2002, at Abstract, 3:31-44, 6:56-7:10, 7:45-8:6, Fig. 1B, Fig. 4,
                                                          Fig. 5, Fig. 6.


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                                          Friend 2003, at Abstract, 1:9-17, 1:28-32, 2:13-18, 4:31-34, 9:4-6, 14, 16-
                                          17, Fig. 1, Fig. 3, Fig. 4.
                                          Gano 1996, at Abstract, 3:4-9, 3:43-52, 6:46-57, 7:36-46, 8:27-55, 9:32-
                                          43, 11:35-44, 12:40-64, Fig. 2A, Fig. 3, Fig. 4, Fig. 5.
                                          Gano 1997, at 1:37-42, 2:41-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                          George 2011, at 4:63-65, 7:64-12:11, Fig. 1, Fig. 2, Fig. 3.
                                          Glass 2002, at Abstract, 1:9-2:57, 4:16-34, 6:14-18, 6:48-52, Fig. 3.
                                          Gramstad 2009, at Abstract, 1:5-9, 1:13-2:4, 2:8-14, 3:19-22, 3:30-34,
                                          6:48-57, 8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig.
                                          4B.
                                          Gramstad 2011, at 7:59-62, 8:25-27, 9:1-16, 9:33-10:10.
                                          Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, Fig. 1, Fig. 2.
                                          Hassel 2009, at Abstract, 2:60-61, 4:15-19, Fig. 1, Fig. 2, Fig. 3, Fig. 4,
                                          Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                          Hinrichs 2004, at Abstract, Abstract, 1:11-15, 1:30-33, 2:1-19, 3:15-24,
                                          3:57-4:5, 6:35-46, 7:60-8:45, 9:8-55, Fig. 1, Fig. 2, Fig. 3, Fig. 4.
                                          Jackson 2010, at Abstract, 1:65-2:34, 2:63-3:2, Fig. 1, Fig. 2, Fig. 3, Fig.
                                          4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                          Jeffree 1999, at Abstract, 1:26-32, 2:27-34, 3:15-30, 4:6-33, 4:39-45,
                                          4:62-5:48, 6:20-51, Fig. 1, Fig. 2.
                                          Jenkins 1971, at 1:38-53, 2:63-3:30, 3:42-4:4, 4:11-31, Fig. 1.
                                          Keller 2011, at Abstract, 4:7-31, 6:3-20, 7:31-58, 9:25-43, Fig. 1, Fig. 2A,
                                          Fig. 2B, Fig. 3.
                                          Lustig 1987, at Abstract, 2:5-26, 1:52-59, 2:47-64, 3:25-41, 3:53-55,
                                          3:61-68, 4:48-67, Fig. 1, Fig. 2.
                                          Luther 1951, at 1:50-2:5, Fig. 1, Fig. 2, Fig. 3.
                                          Otis 1932, at 1:33-44, 2:65-77, Fig. 1, Fig. 2.
                                          Mueller 1992, at 3:18-4:29, 4:56-5:15, 5:59-6:4, 8:34-49, Fig. 1, Fig. 2,
                                          Figs. 3A-F, Fig. 4.
                                          Phi 2008, at ¶ [0042].
                                          Rogers 1998, at 4:39-64.
                                          Rogers 2011, at 3-4, 11; Fig. 13.


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#        Claim Language                                     Citations to Prior Art
                                                            Sherman 2010, at ¶ [0019].
                                                            Snider 1996, at 6:21-63; Fig. 3.
22.1.b   the upper and lower portions of the casing         Al-Anazi, at Abstract, Fig. 1; 1:6-8, 1:12-19; 1:42-53; 1:58-2:23; 2:28-30;
         string separated by a chamber sealed on one        2:46-64.
         end by a rupture disc assembly and on an           Allen 1997, at 46-47.
         opposing end by a seal, the chamber                Brandsdal 2009, at 7:7-31; Figs. 3, 4.
         containing a first fluid having a first specific   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
         gravity                                            Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                            Farrar 1881, at 2:16-34, 2:37-57, 2:53-73, Fig. 1, Fig. 2, Fig. 3.
                                                            Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                            7:50-8:12, Fig. 1, Fig. 2.
                                                            Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                                            4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                            Frazier 2007, at 4:44-50, 6:5-15, 7:12-21, 7:32-42, 8:19-56, Fig. 1, Fig. 2,
                                                            Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                            Frazier 2010, at 3:53-4:3, 5:51-63, 12:31-40, Fig. 1, Fig. 2, Fig. 3B, Fig.
                                                            4E, Fig. 5, Fig. 6, Fig. 9.
                                                            Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                            8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                            Fig. 11, Fig. 12, Fig. 13.
                                                            Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                                            13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                            Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                                            7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                                            Friend 2003, at Abstract, 1:14-17, 1:32-2:2, 2:13-25, 4:31-34, 6:29-7:4,
                                                            9:4-17, 14-17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 15. Fig. 16.
                                                            Gano 1996, at 2:32-61, 3:10-16, 3:43-52, 4:6-35, 5:32-35, 5:38-50, 7:47-
                                                            56, 8:18-26, 8:31-41, 9:16-19, 11:35-44, 12:40-64, Fig. 2B, Fig. 3.
                                                            Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:11-15, 4:32-5:7, Figs.
                                                            1-4.
                                                            George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                                            Fig. 2, Fig. 3.


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#        Claim Language                                 Citations to Prior Art
                                                        Glass 2002, at Abstract, 1:9-2:57, 4:16-34, 6:14-18, 6:48-52, Fig. 3.
                                                        Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                        8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                        Gramstad 2011, at 7:59-67, 8:25-40, 9:1-16, 9:33-10:10.
                                                        Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                                        Hassel 2009, at Abstract, 1:13-30, 2:60-3:6, 6:19-37, Fig. 1, Fig. 2, Fig. 3,
                                                        Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                                        Herr 2006, at 12:12-22, 12:35-42, 12:59-66, 25:52-56, Fig. 3, Fig. 4.
                                                        Hinrichs 2004, at Abstract, 1:11-22, 1:41-67, 2:36-3:12, 3:15-30, 3:46-48,
                                                        4:6-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
                                                        4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                                        Jackson 2010, at Abstract, 1:60-2:34, 3:5-13, 4:23-35, 4:55-5:5, Fig. 1,
                                                        Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 8.
                                                        Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:31-56, 4:6-33, 4:39-
                                                        45, 4:63-5:48, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                                        Jenkins 1971, at 1:71-2:1, 2:55-69, 3:10-27, 4:5-10, 4:32-37, Fig. 1.
                                                        Keller 2010, at 7:40-42, 8:23-43, 9:44-47, 9:50-53, 10:24-25, Fig. 1, Fig.
                                                        2A, Fig. 2B, Fig. 3.
                                                        Lustig 1987, at Abstract, 1:52-59, 2:47-64, 3:25-41, 3:53-55, 3:61-68,
                                                        4:48-67, Fig. 1, Fig. 2.
                                                        Luther 1951, at 2:6-25, 2:55-3:10, Fig. 1, Fig. 2, Fig. 3.
                                                        Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                        Mueller 1992, at 3:18-4:29, 4:56-5:15, 8:34-49, Fig. 1, Fig. 2, Figs. 3A-F,
                                                        Fig. 4.
                                                        Rogers 1998, at 4:55-5:42.
                                                        Rogers 2011, at 3-4, 11; Fig. 13.
                                                        Snider 1996, at 6:21-63; Fig. 3.
22.2.a   wherein the rupture disc assembly comprises    See Limitation 1.1.
         (i) a tubular member having an upper end and
         a lower end, the upper and lower ends
         connected in-line with the casing string and



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22.2.b   (ii) a rupture disc having a rupture burst         See Limitation 1.2.
         pressure and in sealing engagement with a
         region of the tubular member within the upper
         and lower ends,
22.2.c   wherein the rupture disc is configured to          See Limitation 1.3.
         rupture when exposed to a rupturing force
         greater than the rupture burst pressure and
22.2.d   the region of the tubular member where the         See Limitation 1.4.
         rupture disc is attached has a larger internal
         diameter than the internal diameter of the
         casing string and is parallel to the internal
         diameter of the casing string; and
22.3     floating at least a portion of the casing string   Allen 1997, at 46-47.
         containing the sealed chamber in the well          Frazier 2007, at 4:44-50, 4:62-33, 6:5-15, 7:12-21, 7:32-42, 8:19-56, Fig.
         fluid in the lower horizontal portion of the       1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
         wellbore.                                          Frazier 2014, at Abstract, 3:22-34, 4:22-49, Fig. 1, Fig. 3, Fig. 4, Fig. 7,
                                                            Fig. 8, Fig. 9, Fig. 11, Fig. 12, Fig. 13.
                                                            Freiheit 2002, at Abstract, 3:31-44, 6:56-7:10, 7:45-8:6, Fig. 1B, Fig. 4,
                                                            Fig. 5, Fig. 6.
                                                            Gano 1996, at Abstract, 3:4-9, 3:43-52, 7:36-55, 11:39-40, Fig. 2A, Fig.
                                                            2B, Fig. 3.
                                                            Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                            Keller 2010, at Abstract, 4:7-16, 7:31-49, 8:1-7, 9:27-33, Fig. 1, Fig. 2A,
                                                            Fig. 2B, Fig. 3.
                                                            Mueller 1992, at 3:18-4:29, 4:56-5:15, 5:59-6:4, 8:11-23, 8:34-49, Fig. 1,
                                                            Fig. 2, Figs. 3A-F, Fig. 4.
                                                            Rogers 1998, at 8:52-9:16.
23.      The method recited in claim 22 further             Allen 1997, at 46-47.
         comprising: filling the casing string above the    Ervin 2014, at 3:52-4:5, Fig. 1, Fig. 2.
         rupture disc assembly with a second fluid          Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
         having a second specific gravity higher than       7:50-8:12, Fig. 1, Fig. 2.
         the first specific gravity.

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                                          Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                          4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                          Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                          4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                          Frazier 2007, at 4:44-50, 6:5-15, 7:12-21, 7:32-42, 8:19-56, Fig. 1, Fig. 2,
                                          Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                          Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                          8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                          Fig. 11, Fig. 12, Fig. 13.
                                          Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                          13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                          Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                          7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                          Friend 2003, at Abstract, 1:14-17, 1:32-2:2, 2:13-25, 4:31-34, 6:29-7:4,
                                          9:4-17, 14-17.
                                          Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                          42, 5:44-50, 7:57-8:14, 8:56-9:19, 12:40-64, Fig. 2A-C, Fig. 3.
                                          Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                          George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                          Fig. 2, Fig. 3.
                                          Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                          Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                          8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                          Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
                                          10:34-37.
                                          Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                          Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
                                          2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                          Hinrichs 2004, at Abstract, 1:11-22, 1:55-67, 2:36-3:12, 3:15-30, 3:46-48,
                                          4:25-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
                                          4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                          Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.


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#     Claim Language                                   Citations to Prior Art
                                                       Jeffree 1999, at 1:57-63, 3:26-34, 4:62-6:2.
                                                       Keller 2010, at 7:40-45, 8:1-7, 9:27-33, 9:44-47, 9:50-53, Fig. 1, Fig. 2A,
                                                       Fig. 2B, Fig. 3.
                                                       Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                       Mueller 1992 at 6:5-11.
                                                       Rogers 1998, at 8:52-9:16.
                                                       Snider 1996, at 6:21-63; Fig. 3.
24.   The method recited in claim 23 wherein the       Allen 1997, at 46-47.
      first specific gravity is less than a specific   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
      gravity of the well fluid.                       Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                       Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                       7:50-8:12, Fig. 1, Fig. 2.
                                                       Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                                       4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                       Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                       8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                       Fig. 11, Fig. 12, Fig. 13.
                                                       Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                                       13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                       Freiheit 2002, at 4:45-51, 7:8-16.
                                                       Friend 2003, at Abstract, 1:14-17, 1:32-2:2, 2:13-25, 4:32-34, 6:29-7:4,
                                                       9:4-17, 14-17.
                                                       Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                       42, 5:44-50, 7:57-8:14, 8:56-9:19, Fig. 2A-C, Fig. 3.
                                                       Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                       George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                                       Fig. 2, Fig. 3.
                                                       Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                                       Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                       8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                       Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
                                                       10:34-37.


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#     Claim Language                               Citations to Prior Art
                                                   Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                                   Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
                                                   2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                                   Hinrichs 2004, at Abstract, 1:11-22, 1:55-67, 2:36-3:12, 3:15-30, 3:46-48,
                                                   4:25-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
                                                   4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                                   Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                                   Jeffree 1999, at 1:57-63, 3:26-34, 4:62-6:2.
                                                   Keller 2010, at 2:14-34, 3:47-49, 7:40-45, 8:1-7, 9:27-33, 9:44-47, 9:50-
                                                   53, Fig. 1, Fig. 2A, Fig. 2B, Fig. 3.
                                                   Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                   Mueller 1992, at 6:5-45, 8:34-49.
                                                   Rogers 1998, at 8:52-9:16.
                                                   Snider 1996, at 6:21-63; Fig. 3.
25.   The method recited in claim 23 wherein the   Allen 1997, at 46-47.
      first fluid is air.                          Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                   8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                   Fig. 11, Fig. 12, Fig. 13.
                                                   Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                                   13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                   Freiheit 2002, at 4:45-51, 7:12-16.
                                                   Friend 2003, at Abstract, 1:14-17, 1:32-2:2, 2:13-25, 4:32-34, 6:29-7:4,
                                                   9:4-17, 14-17.
                                                   Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                   42, 5:44-50, 7:57-8:14, 8:56-9:19, Fig. 2A-C, Fig. 3.
                                                   George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                                   Fig. 2, Fig. 3.
                                                   Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                                   Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                   8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                   Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
                                                   10:34-37.


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#     Claim Language                                 Citations to Prior Art
                                                     Hinrichs 2004, at Abstract, 1:11-22, 1:55-67, 2:36-3:12, 3:15-30, 3:46-48,
                                                     4:25-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
                                                     4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                                     Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                                     Jeffree 1999, at 1:57-63, 3:26-34, 4:62-6:2.
                                                     Keller 2010, at 2:14-34, 3:47-49, 8:1-7, Fig. 1, Fig. 2A, Fig. 2B.
                                                     Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                     Mueller 1992, at 3:36-51, 5:6-15, 8:34-49.
                                                     Rogers 1998, at 1.
                                                     Rogers 1998, at 8:52-9:2.
                                                     Snider 1996, at 6:21-63; Fig. 3.
27.   The method recited in claim 22 further         Allen 1997, at 46-47.
      comprising applying a rupturing force to the   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
      rupture disc to rupture the rupture disc.      Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                     Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:15-17, 14-19.
                                                     Farrar 1881, at 2:16-34, 2:37-57, 2:53-73, Fig. 1, Fig. 2, Fig. 3.
                                                     Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                     7:50-8:12, Fig. 1, Fig. 2.
                                                     Frazier 1999, at Abstract, 1:23-42, 2:11-37, 2:48-64, 3:40-47, 3:65-4:15,
                                                     4:30-5:17, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                     Frazier 2007, at 4:44-50, 6:5-15, 7:12-21, 7:32-42, 8:19-56, Fig. 1, Fig. 2,
                                                     Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7.
                                                     Frazier 2010, at 12:31-40.
                                                     Frazier 2014, at 3:47-4:8, 5:6-31, 7:24-55, 8:54-10:5, Fig. 1, Fig. 4, Fig. 6,
                                                     Fig. 7, Fig. 8, Fig. 9, Fig. 10, Fig. 11, Fig. 12, Fig. 13.
                                                     Frazier 2015, at Abstract, 2:25-41, 4:28-34, 8:60-67, 11:46-12:28, 12:57-
                                                     13:14, 13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                     Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                                     7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                                     Gano 1996, at 2:32-50, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                     42, 5:44-50, 7:57-8:14, 8:62-9:19, 11:35-44, 12:40-64, Fig. 2C, Fig. 3.
                                                     Gano 1997, at 1:37-42, 4:32-5:7.


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#   Claim Language                        Citations to Prior Art
                                          George 2011, at 6:42-64, 7:48-57, 8:40-45, 9:16-21.
                                          Glass 2002, at Abstract, 1:9-12, 2:9-57, 2:59-4:2, 4:44-51, 6:4-6, 6:14-18,
                                          6:33-40, 6:45-65, Fig. 1, Fig. 2, Fig. 4, Fig. 5.
                                          Gramstad 2009, at Abstract, 1:13-2:4, 2:15-50, 4:21-32, 5:6-6:30, 6:58-
                                          7:10, 7:27-32, 8:4-6, 8:24-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3,
                                          Fig. 4A, Fig. 4B.
                                          Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-44, 9:10-17, 10:1-14.
                                          Grigar 1987, at 1:61-66, 3:36-45, 4:11-25, 6:5-7, 6:30-37, Fig. 2.
                                          Hassel 2009, at Abstract, 1:21-2:19, 2:64-3:6, 3:58-67, 4:21-67, 5:12-6:3,
                                          6:19-40, 6:66-7:3, 7:16-8:3, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A,
                                          Fig. 6B, Fig. 6C.
                                          Herr 2006, at 12:12-22, 12:35-42, 12:59-66, 25:52-56, Fig. 3, Fig. 4.
                                          Hinrichs 2004, at Abstract, 1:41-54, 2:36-48, 3:19-24, 3:19-30, 6:16-7:25,
                                          7:60-8:45, 9:8-55, 10:42-53, Fig. 2, Fig. 3, Fig. 4.
                                          Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:42-49, 3:46-50, 4:6-33, 5:30-
                                          33, 6:15-19, 6:44-51.
                                          Jenkins 1971, at 2:55-62, 3:10-27, 4:5-10, 4:32-37.
                                          Lustig 1987, at Abstract, 1:52-59, 3:25-41.
                                          Luther 1951, at 2:6-25, 2:55-3:10, Fig. 1, Fig. 2, Fig. 3.
                                          Magnum Oil Tools 2011.
                                          Magnum Oil Tools 2012, at 1-2.
                                          Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6 .
                                          Owen Oil Tools 2004, at 1-3.
                                          Petrowsky 2013, at ¶ [0011].
                                          Rogers 1998, at 6:18-42.
                                          Snider 1996, at 6:21-63; Fig. 3.




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#        Claim Language                                    Citations to Prior Art
28.0     A float tool configured for use in positioning    See Limitation 1.0.
         a casing string in a wellbore containing a well
         fluid, the casing string having an internal
         diameter that defines a fluid passageway
         between an upper portion of the casing string
         and a lower portion of the casing string, the
         float tool comprising:
28.1.a   a rupture disc assembly comprising (i) a          See Limitation 1.1
         tubular member having an upper end and a
         lower end, the upper and lower ends
         configured for connection in-line with the
         casing string and
28.1.b   (ii) a rupture disc having a rupture burst        See Limitation 1.2.
         pressure and in sealing engagement with a
         region of the tubular member within the upper
         and lower ends
28.2.a   wherein the rupture disc is configured to         Al-Anazi, at Abstract, Figs. 1-4, 1:6-8; 1:12-19; 1:36-54; 1:58-64; 2:3-22;
         disengage from sealing engagement when            2:28-34; 2:46-63; 3:3-9; 3:17-4:63; 5:3-7:40.
         exposed to a pressure greater than a hydraulic    Entchev 2017, at 6:18-35, 10:37-45, 13:57-14:22, 16:54-17:18, 18:6-36,
         pressure in the casing string after the casing    19:11-22, 24:1-23, Fig. 3B, Fig. 4A, Fig. 4B.
         string has been positioned in the wellbore        Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
                                                           Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                           Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                           7:50-8:12, Fig. 1, Fig. 2.
                                                           Frazier 2010, at 11:25-28, 12:22-30, Fig. 1, Fig. 2, Fig. 5, Fig. 6.
                                                           Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                           8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                           Fig. 11, Fig. 12, Fig. 13.
                                                           Frazier 2015, at Abstract, 2:25-41, 8:60-69, 13:39-49, Fig. 6, Fig. 7.
                                                           Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:15-17, 14-19, Fig.
                                                           2, Fig. 3, Fig. 4, Fig. 15, Fig. 16.



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#   Claim Language                        Citations to Prior Art
                                          Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                          7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                          Gano 1996, at 2:32-50, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                          42, 5:44-50, 7:15-35, 7:57-8:14, 8:62-9:19, 12:40-64, Fig. 2A-C, Fig. 3.
                                          Gano 1997, at 1:37-42, 4:32-5:7.
                                          George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:42-7:57, 7:64-12:11, Fig. 1,
                                          Fig. 2, Fig. 3.
                                          Gramstad 2009, at 1:28-52, 2:19-24, 2:30-35, 2:43-50, 4:4-5:20, 6:31-47,
                                          7:6-26, 7:53-8:2, 8:7-15, 8:20-31, 8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig.
                                          2B, Fig. 3, Fig. 4A, Fig. 4B.
                                          Gramstad 2011, at 7:59-7, 8:11-17, 8:25-63, 9:1-25, 10:1-14, 10:20-34,
                                          10:31-33.
                                          Hassel 2009, at Abstract, 1:21-2:19, 2:64-3:6, 3:58-67, 4:21-67, 5:12-6:3,
                                          6:19-40, 6:66-7:3, 7:16-8:3, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A,
                                          Fig. 6B, Fig. 6C.
                                          Hinrichs 2004, at Abstract, 1:41-54, 2:36-48, 3:19-24, 3:19-30, 6:16-7:25,
                                          7:60-8:45, 9:8-55, 10:42-53, Fig. 2, Fig. 3, Fig. 4.
                                          Jackson 2010, at Abstract, 1:65-2:34, 3:5-4:6, 5:6-25, 5:66-6:2, Fig. 1,
                                          Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                          Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:42-49, 3:46-50, 4:6-33, 5:30-
                                          33, 6:15-19, 6:44-51.
                                          Lustig 1987, at Abstract, 1:52-59, 2:47-64, 3:25-41, 3:53-55, 3:61-68,
                                          4:48-67, Fig. 1, Fig. 2.
                                          Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                          Mueller 1992, at 7:65-8:10, 8:50-9:3, 9:31-55, Fig. 1, Fig. 2, Figs. 3A-F,
                                          Fig. 5.
                                          Ross 2009, at ¶¶ [0014]-[0015], [0018], [0020].
                                          Snider 1996, at 6:21-63; Fig. 3.
                                          500x300 TDO-PO Plug, at 9, 10.
                                          572x375 TDO-PO Plug, at 10, 12.
                                          TCO PGR2020-00078, at 61-63.



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#        Claim Language                                      Citations to Prior Art
28.2.b   and the region of the tubular member where          See Limitation 1.4
         the rupture disc is attached has a larger
         internal diameter than the internal diameter of
         the casing string and is parallel to the internal
         diameter of the casing string.
29.a     The float tool recited in claim 28 wherein the      See Limitation 1.3.
         rupture disc is further configured to rupture
         when exposed to a rupturing force greater
         than the rupture burst pressure and
29.b     the pressure greater than the hydraulic             Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
         pressure is less than the rupture burst             Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
         pressure.                                           Frazier 2010, at 11:25-28, 12:22-30, Fig. 1, Fig. 2, Fig. 5, Fig. 6.
                                                             Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                             8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                             Fig. 11, Fig. 12, Fig. 13.
                                                             Frazier 2015, at Abstract, 2:25-41, 8:60-67, 13:39-49, Fig. 6, Fig. 7.
                                                             Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                                             7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                                             Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:15-17, 14-19, Fig.
                                                             2, Fig. 3, Fig. 4, Fig. 15, Fig. 16.
                                                             Gano 1996, at 2:32-50, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                             42, 5:44-50, 7:15-35, 7:57-8:14, 8:62-9:19, 12:40-64, Fig. 2A-C, Fig. 3
                                                             Gano 1997, at 1:37-42, 4:32-5:7.
                                                             George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:42-7:57, 7:64-12:11, Fig. 1,
                                                             Fig. 2, Fig. 3.
                                                             Gramstad 2009, at 1:28-52, 2:19-24, 2:30-35, 2:43-50, 4:4-5:20, 6:31-47,
                                                             7:6-26, 7:53-8:2, 8:7-15, 8:20-31, 8:41-53.
                                                             Gramstad 2011, at 7:59-7, 8:11-17, 8:25-63, 9:1-25, 10:1-14, 10:20-34,
                                                             10:31-33.
                                                             Hassel 2009, at 4:42-44.
                                                             Hinrichs 2004, at Abstract, 1:41-54, 2:36-48, 3:19-24, 3:19-30, 6:16-7:25,
                                                             7:60-8:45, 9:8-55, 10:42-53, Fig. 2, Fig. 3, Fig. 4.


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#     Claim Language                                    Citations to Prior Art
                                                        Jackson 2010, at Abstract, 1:65-2:34, 3:5-4:6, 5:6-25, 5:66-6:2, Fig. 1,
                                                        Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6, Fig. 7, Fig. 8.
                                                        Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:42-49, 3:46-50, 4:6-33, 5:30-
                                                        33, 6:15-19, 6:44-51.
                                                        Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                        Mueller 1992, at 7:65-8:10, 8:50-9:3, 9:31-55, Fig. 1, Fig. 2, Figs. 3A-F,
                                                        Fig. 5.
                                                        Stokes 2011, at 2:3-54; Figs. 7-8.
                                                        TCO PGR2020-00078, at 64-65.
30.   The float tool recited in claim 28 wherein the    Al-Anazi, at Abstract, Fig. 1.; 2:59-3:14.
      wellbore has an upper, substantially vertical     Allen 1997, at 46-47.
      portion, a lower, substantially horizontal        Frazier 2010, at 3:53-4:3, 4:37-43, 11:30-46, Fig. 9.
      portion, and a bend portion connecting the        Friend 2003, at 1:28-2:2, 3:5-3, 4:27-30, Fig. 1.
      upper and lower portions and the float tool is    Gano 1996, at Abstract, 1:10-67, 2:15-18, Fig. 2A-C, Fig. 3.
      configured for use in the casing string such      Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
      that, when the casing string is positioned in     George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:42-7:57, 7:64-12:11, Fig. 1,
      the wellbore for a cementing operation, the       Fig. 2, Fig. 3.
      rupture disc is located in the upper,             Glass 2002, at Abstract, 1:9-2:57, 4:16-34, 6:14-18, 6:48-52, Fig. 3.
      substantially vertical portion of the wellbore.   Gramstad 2009, at Abstract, 1:5-9, 1:13-2:4, 2:8-14, 3:19-22, 3:30-34,
                                                        6:48-57, 8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig.
                                                        4B.
                                                        Keller 2010, at Abstract, 7:31-49, 8:1-14, Fig. 2A, Fig. 2B.
                                                        Mueller 1992, at 2:53-3:47, 4:4-30, 4:57-5:9, 7:28-42, Fig. 1, Fig. 2, Figs.
                                                        3A-F, Fig. 4.
                                                        Sherman 2010, at ¶¶ [0018], [0019].
                                                        Sproul 1989, at 1:11-23, 2:50-55, 6:16-33; Figs. 1-3.
31.   The float tool recited in claim 30 wherein the    Al-Anazi, at Abstract, Fig. 1.; 2:59-3:14.
      float tool is configured for use in the casing    Allen 1997, at 46-47.
      string such that, when the casing string is       Frazier 2010, at 3:53-4:3, 4:37-43, 11:30-46, Fig. 9.
      positioned in the wellbore for a cementing        Freiheit 2002, at Abstract, 3:31-44, 6:56-7:10, 7:45-8:6, Fig. 1B, Fig. 4,
      operation, the rupture disc is located            Fig. 5, Fig. 6.
      proximate the bend portion of the wellbore.       George 2011, at 2:1-17, Fig. 1.


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#     Claim Language                                   Citations to Prior Art
                                                       Gramstad 2009, at Abstract, 1:5-9, 1:13-2:4, 2:8-14, 3:19-22, 3:30-34,
                                                       6:48-57, 8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig.
                                                       4B.
                                                       Keller 2010, at Abstract, 7:31-49, 8:1-14, Fig. 2A, Fig. 2B.
                                                       Mueller 1992, at 3:18-4:29, 4:56-5:15, 5:59-6:4, 8:34-49, Fig. 1, Fig. 2,
                                                       Figs. 3A-F, Fig. 4.
                                                       Sherman 2010, at ¶ [0020].
                                                       Sproul 1989, at 1:11-23, 2:50-55, 6:16-33; Figs. 1-3.
36.   The float tool recited in claim 28 wherein the   See Limitation 8.
      rupture disc forms an upper seal of a sealed
      chamber.
37.   The float tool recited in claim 36 wherein the   Allen 1997, at 46-47.
      sealed chamber is configured for releasably      Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
      containing a fluid having a lower specific       Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
      gravity than that of the well fluid.             Frazier 2010, at 11:25-28, 12:22-30, Fig. 1, Fig. 2, Fig. 5, Fig. 6.
                                                       Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                       8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                       Fig. 11, Fig. 12, Fig. 13.
                                                       Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                                       13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                       Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
                                                       7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
                                                       Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:15-17, 14-19, Fig.
                                                       2, Fig. 3, Fig. 4, Fig. 15. Fig. 16.
                                                       Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                       7:50-8:12, Fig. 1, Fig. 2.
                                                       Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                       42, 5:44-50, 7:57-8:14, 8:56-9:19, 12:40-64, Fig. 2A-C, Fig. 3.
                                                       Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                       George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
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                                                       Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.


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#     Claim Language                                    Citations to Prior Art
                                                        Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                        8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                        Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
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                                                        Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                                        Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
                                                        2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                                        Hinrichs 2004, at Abstract, 1:11-22, 1:41-67, 2:36-3:12, 3:15-30, 3:46-48,
                                                        4:6-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
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                                                        Jackson 2010, at Abstract, 1:65-2:34, 3:5-4:6, 5:6-25, 5:66-6:2, Fig. 1,
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                                                        Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:26-56, 4:6-33, 4:39-
                                                        45, 4:62-6:2, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                                        Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                        Mueller 1992, at 3:18-4:29, 4:56-5:15, 8:34-49, Fig. 1, Fig. 2, Figs. 3A-F,
                                                        Fig. 4.
                                                        Rogers 1998, at 8:52-9:16.
                                                        Snider 1996, at 6:21-63; Fig. 3.
38.   The float tool recited in claim 37 wherein the    Allen 1997, at 46-47.
      fluid having a lower specific gravity than that   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
      of the well fluid is released upon                Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
      disengagement of the rupture disc.                Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                        7:50-8:12, Fig. 1, Fig. 2.
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                                                        Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                        8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
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                                                        Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                                        13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                        Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:8-16,
                                                        7:17-26, 7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.


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                                                       2, Fig. 3, Fig. 4, Fig. 15, Fig. 16.
                                                       Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                       42, 5:44-50, 7:57-8:14, 8:56-9:19, Fig. 2A-C, Fig. 3.
                                                       Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                       George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
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                                                       Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                                       Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                       8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                       Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
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                                                       Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                                       Hassel 2009, at Abstract, 1:21-2:19, 2:64-3:6, 3:58-67, 4:21-67, 5:12-6:3,
                                                       6:19-40, 6:66-7:3, 7:16-8:3, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A,
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                                                       Hinrichs 2004, at Abstract, 1:11-22, 1:41-67, 2:36-3:12, 3:15-30, 3:46-48,
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                                                       Jackson 2010, at Abstract, 1:65-2:34, 3:5-4:6, 5:6-25, 5:66-6:2, Fig. 1,
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                                                       Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:26-56, 4:6-33, 4:39-
                                                       45, 4:62-6:2, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                                       Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                       Mueller 1992, at 3:18-4:29, 4:56-5:15, 8:34-9:55, Fig. 1, Fig. 2, Figs. 3A-
                                                       F, Fig. 4.
                                                       Rogers 1998, at 8:52-9:16.
                                                       Snider 1996, at 6:21-63; Fig. 3.
39.   The float tool recited in claim 36 wherein the   Allen 1997, at 46-47.
      sealed chamber is filled with a fluid having a   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
      lower specific gravity than that of the well     Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
      fluid.


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                                          7:50-8:12, Fig. 1, Fig. 2.
                                          Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                          8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
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                                          Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-51, 5:21-6:55, 7:8-16,
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                                          Friend 2003, at Abstract, 1:14-17, 1:32-2:2, 2:13-25, 4:32-34, 6:29-7:4,
                                          9:4-17, 14-17.
                                          Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                          42, 5:44-50, 7:57-8:14, 8:56-9:19, Fig. 2A-C, Fig. 3.
                                          Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                          George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                          Fig. 2, Fig. 3.
                                          Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                          Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                          8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                          Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
                                          10:34-37.
                                          Grigar 1987, at 1:58-66, 3:8-24, 4:11-41, 5:47-6:19, Fig. 1, Fig. 2.
                                          Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
                                          2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A, Fig. 6B, Fig. 6C.
                                          Hinrichs 2004, at Abstract, 1:11-22, 1:41-67, 2:36-3:12, 3:15-30, 3:46-48,
                                          4:6-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
                                          4.
                                          Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                          Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:26-56, 4:6-33, 4:39-
                                          45, 4:62-6:2, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                          Keller 2010, at 3:4-44, 7:40-49, 7:59-8:14, 10:41-44, Fig. 1, Fig. 2A, Fig.
                                          2B, Fig. 3.


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                                                       Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
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                                                       Fig. 4.
                                                       Rogers 1998, at 8:52-9:16.
                                                       Snider 1996, at 6:21-63; Fig. 3.
40.   The float tool recited in claim 39 wherein the   Allen 1997, at 46-47
      fluid in the sealed chamber is a gas.            Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                       8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
                                                       Fig. 11, Fig. 12, Fig. 13.
                                                       Frazier 2015, at Abstract, 2:25-41, 4:28-34, 11:46-12:28, 12:57-13:14,
                                                       13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                       Freiheit 2002, at 4:45-51.
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                                                       9:4-17, 14-17.
                                                       Gano 1996, at 2:32-61, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                       42, 5:44-50, 7:57-8:14, 8:56-9:19, Fig. 2A-C, Fig. 3.
                                                       Gano 1997, at 1:37-42, 2:33-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                       George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                                       Fig. 2, Fig. 3.
                                                       Glass, at 4:44-63, 6:14-18, 6:48-52, Fig. 3.
                                                       Gramstad 2009, at Abstract, 1:13-2:4, 2:8-24, 3:11-53, 6:48-57, 7:42-48,
                                                       8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig. 2B, Fig. 3, Fig. 4A, Fig. 4B.
                                                       Gramstad 2011, at 7:59-8:7, 8:18-24, 8:28-54, 8:64-9:17, 9:26-10:19,
                                                       10:34-37.
                                                       Hassel 2009, at 4:15-19, 5:12-6:3, 6:19-37, 6:55-60, 7:16-8:3, Fig. 1, Fig.
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                                                       Hinrichs 2004, at Abstract, 1:11-22, 1:41-67, 2:36-3:12, 3:15-30, 3:46-48,
                                                       4:6-41, 6:16-7:25, 7:60-8:45, 9:8-55, 10:42-53, Fig. 1, Fig. 2, Fig. 3, Fig.
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                                                       Jackson 2010, at 4:23-35, 4:55-5:5, Fig. 2, Fig. 3, Fig. 6, Fig. 7.
                                                       Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:26-56, 4:6-33, 4:39-
                                                       45, 4:62-6:2, 6:11-51, Fig. 4, Fig. 5, Fig. 6.


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                                                          Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                          Mueller 1992, at 3:36-51, 5:6-15, 8:34-49.
                                                          Rogers 1998, at 8:52-9:16.
                                                          Snider 1996, at 6:21-63; Fig. 3.
41.      The float tool recited in claim 40 wherein the   See Limitation 25.
         gas is air.
42.      The float tool recited in claim 36 further       See Limitation 14.
         comprising a lower seal on the sealed
         chamber.
43.      The float tool recited in claim 42 wherein the   See Limitation 15.
         lower seal is within a float shoe.
46.      The float tool recited in claim 36 wherein the   Allen 1997, at 46-47.
         sealed chamber is sized such that a portion of   Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
         the sealed chamber is buoyant in the well        7:45-8:38, Fig. 1B, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6.
         fluid.                                           Gano 1996, at Abstract, 3:4-9, 3:43-52, 7:36-55, 11:39-40, Fig. 2A, Fig.
                                                          2B, Fig. 3.
                                                          Gano 1997, at 1:37-42, 2:41-48, 3:18-26, 3:32-40, 4:32-5:7, Figs. 1-4.
                                                          Grigar 1987, at 1:58-2:2, 3:46-50, 5:6-30, Fig. 1, Fig. 2.
                                                          Keller 2010, at Abstract, 2:35-3:28, 6:3-20, 7:31-49.
                                                          Mueller 1992, at 3:46-51, 5:25-45, 5:59-6:4, 8:34-49, Figs. 3A-F.
                                                          Rogers 1998, at 4:2-5.
50.0     A method for installing casing in a wellbore     See Limitation 22.0.
         containing a well fluid and having an upper
         vertical portion, a lower horizontal portion,
         and a bend portion connecting the upper and
         lower portions, the method comprising:
50.1.a   running a casing string into the wellbore, the   See Limitation 22.1.a.
         casing string having an internal diameter that
         defines a fluid passageway between an upper
         portion of the casing string and a lower
         portion of the casing string,

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50.1.b   the upper and lower portions of the casing         See Limitation 22.1.b.
         string separated by a chamber sealed on one
         end by a rupture disc assembly and on an
         opposing end by a seal, the chamber
         containing a first fluid having a first specific
         gravity
50.2.a   wherein the rupture disc assembly comprises        See Limitation 1.1.
         (i) a tubular member having an upper end and
         a lower end, the upper and lower ends
         connected in-line with the casing string and
50.2.b   (ii) a rupture disc having a rupture burst         See Limitation 1.2.
         pressure and in sealing engagement with a
         region of the tubular member within the upper
         and lower ends,
50.3.a   wherein the rupture disc is configured to          See Limitation 28.2.a.
         disengage from sealing engagement when
         exposed to a pressure greater than a hydraulic
         pressure in the casing string after the casing
         string has been positioned in the wellbore and
50.3.b   the region of the tubular member where the         See Limitation 1.4
         rupture disc is attached has a larger internal
         diameter than the internal diameter of the
         casing string and is parallel to the internal
         diameter of the casing string; and
50.4     floating at least a portion of the casing string   See Limitation 22.3.
         containing the sealed chamber in the well
         fluid in the lower horizontal portion of the
         wellbore.
51.      The method recited in claim 50 further             See Limitation 23.
         comprising: filling the casing string above the
         rupture disc assembly with a second fluid



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      having a second specific gravity higher than
      the first specific gravity.
52.   The method recited in claim 51 wherein the       See Limitation 24.
      first specific gravity is less than a specific
      gravity of the well fluid.
53.   The method recited in claim 51 wherein the       See Limitation 25.
      first fluid is air.
55.   The method recited in claim 50 further           Al-Anazi, at Abstract, Figs. 1-4, 1:6-8; 1:12-19; 1:36-54; 1:58-64; 2:3-22;
      comprising applying a pressure within the        2:28-34; 2:46-63; 3:3-9; 3:17-4:63; 5:3-7:40.
      casing string greater than the hydraulic         Brandsdal 2009, at 7:7-31; Figs. 3, 4.
      pressure in the casing string to disengage the   Ervin 2014, at Abstract, 2:38-52, 3:11-30, 4:6-12, 9:33-67, Fig. 1, Fig. 2,
      rupture disc from sealing engagement             Fig. 3, Fig. 4, Fig. 5, Fig. 9, Fig. 10, Fig. 11.
                                                       Farwell 1991, at Abstract, 1:13-23, 2:10-22, 3:19-44, 3:59-67, 6:42-56,
                                                       7:50-8:12, Fig. 1, Fig. 2.
                                                       Frazier 2010, at 11:25-28, 12:22-30, Fig. 1, Fig. 2, Fig. 5, Fig. 6.
                                                       Frazier 2014, at 3:27-4:21, 4:50-5:7, 5:35-38, 5:44-6:37, 6:66-7:55, 7:56-
                                                       8:19, 8:38-10:5, Fig. 1, Fig. 3, Fig. 4, Fig. 6, Fig. 7, Fig. 8, Fig. 9, Fig. 10,
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                                                       Frazier 2015, at Abstract, 2:25-41, 4:28-34, 8:60-67, 11:46-12:28, 12:57-
                                                       13:14, 13:29-49, Fig. 2A, Fig. 2B, Fig. 3, Fig. 6, Fig. 7.
                                                       Freiheit 2002, at Abstract, 3:31-44, 3:50-59, 4:11-50, 5:21-6:55, 7:17-26,
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                                                       Friend 2003, at Abstract, 1:30-2:2, 2:15-25, 6:29-7:4, 9:15-17, 14-19, Fig.
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                                                       Gano 1996, at 2:32-50, 2:61-3:3, 3:11-14, 3:43-52, 4:6-35, 5:32-35, 5:38-
                                                       42, 5:44-50, 7:15-35, 7:57-8:14, 8:62-9:19, 12:40-64, Fig. 2A-C, Fig. 3.
                                                       Gano 1997, at 1:37-42, 4:32-5:7.
                                                       George 2011, at 4:6-18, 4:30-44, 5:9-19, 6:65-7:57, 7:64-12:11, Fig. 1,
                                                       Fig. 2, Fig. 3.
                                                       Gramstad 2009, at 1:28-52, 2:19-24, 2:30-35, 2:43-50, 4:4-5:20, 6:31-47,
                                                       7:6-26, 7:53-8:2, 8:7-15, 8:20-31, 8:41-53, Fig. 1A, Fig. 1B, Fig. 2A, Fig.
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                                                           10:31-33.
                                                           Hassel 2009, at Abstract, 1:21-2:19, 2:64-3:6, 3:58-67, 4:21-67, 5:12-6:3,
                                                           6:19-40, 6:66-7:3, 7:16-8:3, Fig. 1, Fig. 2, Fig. 3, Fig. 4, Fig. 5, Fig. 6A,
                                                           Fig. 6B, Fig. 6C.
                                                           Hinrichs 2004, at Abstract, 1:41-54, 2:36-48, 3:19-24, 3:19-30, 6:16-7:25,
                                                           7:60-8:45, 9:8-55, 10:42-53, Fig. 2, Fig. 3, Fig. 4.
                                                           Jackson 2010, at Abstract, 1:65-2:34, 3:5-4:6, 5:6-25, 5:66-6:2, Fig. 1,
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                                                           Jeffree 1999, at Abstract, 1:49-63, 2:1-6, 2:35-56, 3:26-56, 4:6-33, 4:39-
                                                           45, 4:62-6:2, 6:11-51, Fig. 4, Fig. 5, Fig. 6.
                                                           Lustig 1987, at Abstract, 1:52-59, 2:47-64, 3:25-41, 3:53-55, 3:61-68,
                                                           4:48-67, Fig. 1, Fig. 2.
                                                           Otis 1932, at 1:45-102, 2:14-77, Fig. 1, Fig. 2, Fig. 6.
                                                           Mueller 1992, at 7:65-8:10, 8:50-9:3, 9:31-55, Fig. 1, Fig. 2, Figs. 3A-F,
                                                           Fig. 5.
                                                           Ross 2009, at ¶¶ [0018], [0020].
56.a.   The method recited in claim 55 wherein the         See Limitation 29.a.
        rupture disc is further configured to rupture
        when exposed to a rupturing force greater
        than the rupture burst pressure and
56.b    the pressure greater than the hydraulic            See Limitation 29.b.
        pressure is less than the rupture burst pressure
57.     The method recited in claim 56 further             See Limitation 27.
        comprising applying a rupturing force to
        rupture the rupture disc.




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